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               IN THE UNITED STATES COURT OF APPEALS
                       FOR THE FEDERAL CIRCUIT

                                         )
METROPOLITAN AREA EMS                    )
AUTHORITY aka MedStar Mobile             )
Healthcare, VALLEY AMBULANCE             )
AUTHORITY, QUAKER VALLEY                 )
AMBULANCE AUTHORITY,                     )
ALTOONA LOGAN TOWNSHIP                   )
MOBILE MEDICAL EMERGENCY                 )
DEPARTMENT AUTHORITY                     )
dba AMED,                                )         2024-1104
                                         )
              Petitioners,               )
                                         )
         v.                              )
                                         )
SECRETARY OF VETERANS                    )
AFFAIRS,                                 )
                                         )
              Respondent.                )
                                         )

      NOTICE OF FILING OF INDEX OF RULEMAKING RECORD

      Pursuant to Federal Circuit Rule 17(b)(3), respondent, the Secretary of

Veterans Affairs, files the attached index of rulemaking record in connection with

the Department of Veterans Affairs (VA) final rule entitled Change in Rates VA

Pays for Special Modes of Transportation, 88 Fed. Reg. 10,032 (Feb. 16, 2023).
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                                  Respectfully submitted,

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                                  Principal Deputy Assistant Attorney General

                                  PATRICIA M. McCARTHY
                                  Director

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      111 Within the United States, RIN 2900-AM02, 72 Fed. Reg. 40,096 (July
      23, 2007)

2.    VA Notice of Final Rulemaking – Beneficiary Travel under 38 U.S.C. 111
      Within the United States, RIN 2900-AM02, 73 Fed. Reg. 36,796 (June 30,
      2008)
3.    Beneficiary Travel Benefits, Fact Sheet, June 2010

4.    VHA Handbook 1601B.05, Beneficiary Travel, July 23, 2010

5.    VOW to Hire Heroes Act of 2011, Pub. L. No. 112-56, § 263, 125 Stat. 711,
      732 (November 21, 2011)
6.    VA FY2012 Budget Submission, Summary, Volume 1 of 4, February 2011
7.    Honoring America’s Veterans and Caring for Camp Lejeune Families Act of
      2012, Pub. L. No. 112-154, § 704, 126 Stat. 1165, 1206 (August 6, 2012)
8.    U.S. Government Accountability Office, “Ambulance Providers: Costs and
      Medicare Margins Varied Widely; Transports of Beneficiaries Have
      Increased,” October 1, 2012
9.    FY 2012 Funding and FY 2013 Advance Appropriations Request, Medical
      Programs and Information Technology Programs, Volume II

10.   Veteran Beneficiary Travel Benefits Fact Sheet, February 2013
11.   FY 2013 Funding and FY 2014 Advance Appropriations Request, Medical
      Programs and Information Technology Programs, Volume II

12.   VHA Procedure Guide 1601B.05, August 10, 2015

13.   Fact Sheet 20-6, Ambulance Transport at VA Expense – A Guide for
      Community Ambulance Providers, September 2015

14.   U.S. Department of Health and Human Services, Report to Congress,
      Evaluations of Hospitals’ Ambulance Data on Medicare Cost Reports and
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15.   Xcenda, LLC, et al., “Air Medical Services Cost Study Report,” March 24,
      2017

16.   Department of Veterans Affairs, Office of Inspector General, Veterans
      Health Administration, The Beneficiary Travel Program, Special Mode of
      Transportation, Eligibility and Payment Controls, Report No. 15-0022-139,
      May 7, 2018

17.   VHA Directive 1695, Veterans Transportation Services, September 18, 2019
18.   VA Unified Agenda of Federal Regulatory and Deregulatory Actions –
      Semiannual Regulatory Agenda, 84 Fed. Reg. 71,185 (December 26, 2019)
19.   Regulatory Impact Analysis, Change in Rates that VA Pays for Special
      Modes of Transportation, RIN 2900-AP89(P), October 28, 2020
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21.   Congressional Response Letters regarding November 4, 2020 Proposed
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23.   Public Comments on November 4, 2020 Proposed Rule:

         (1)   From Carolyn Mayle, Air Methods Corporation, Document ID:
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         (2)   From Debbie Cavalry, PHA, Inc., Document ID: VA-2020-VHA-
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         (3)   From Cameron Curtis and Deborah Boudreaux, The Association of
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         (5)   From Anonymous, Document ID: VA-2020-VHA-0022-0004
         (6)   From Kimberly Cox, Document ID: VA-2020-VHA-0022-0005

24.   VHA Directive 1601B.05, Beneficiary Travel, January 20, 2022
25.   David C. Chan, et al., “Mortality among US veterans after emergency visits
      to Veterans Affairs and other hospitals: retrospective cohort study,”
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26.   VHA, Office of Integrated Veteran Care, Ambulance Transportation, May 2,
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27.   Letter from Congressmembers Kirkpatrick, Bacon, Bentz, and Gallego,
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28.   VA response letter to Congressmembers Kirkpatrick, Bacon, Bentz, and
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29.   Letter from Brad Gerfin, Deputy Chief of Medical Operations, and Robert
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35.   Department of Veterans Affairs, Veterans Health Administration,
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36.   Letter from Shawn Baird, President, American Ambulance Association,
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37.   Letter from Congressmember Allred, December 20, 2022
38.   Regulatory Impact Analysis, Change in Rates that VA Pays for Special
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39.   Letter from Jack Du Teil, President, The Military Coalition, January 9, 2023

40.   Department of Veterans Affairs, Veterans Health Administration, Message
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41.   VA Response Letter to Congressmember Allred, January 19, 2023
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43.   VA Response Letter to American Ambulance Association, January 20, 2023

44.   VA Response Letter to Ron Sattelmeir, Fire Chief – Paramedic, Water
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45.   VA Response Letter to Carol Kolson, President/CEO, Mesquite Chamber of
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46.   Letter from Congressman Bishop, Jr., February 9, 2023
47.   Letter from Senators Tester and Moran, February 15, 2023

48.   VA Notice of Final Rulemaking – Change in Rates VA Pays for Special
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